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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                       Criminal Case No. CR 20-76 (PAM/KMM)

UNITED STATES OF AMERICA,                 )
                                          )
                     Plaintiff,           )
                                          )                        MOTION FOR
       vs.                                )             COMPETENCY EVALUATION
                                          )
MUHAMMAD MASOOD,                          )
                                          )
                     Defendant.           )


       PLEASE TAKE NOTICE that undersigned counsel for Defendant Muhammad

Masood hereby moves the Court to conduct a hearing to determine the mental

competency of Mr. Masood. This Motion is made pursuant to 18 U.S.C. § 4241 and Fed.

R. Crim. P. 12.2(c)(1)(A). The grounds for this motion are that based on undersigned

counsel's interactions with Mr. Masood and other information, undersigned counsel

believes that he might be suffering from mental illness which renders him incompetent to

understand the nature and consequences of the proceedings or assist properly in his

defense. The grounds for further set forth in the accompanying declaration of counsel

filed under seal. This Motion is based on all files, records and proceedings.


Dated: September 11, 2020                      LAW OFFICE OF JORDAN S. KUSHNER

                                                      By s/Jordan S. Kushner
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